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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

DEVON GREEN,

        Plaintiff,
                                                    Case No. 19-cv-797-wmc
   v.

JEFFREY MANLOVE,

        Defendant.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case.




        /s/                                             9/28/2021
        Peter Oppeneer, Clerk of Court                        Date
